CaseCase
     2:08-cv-01327-GHK-SS  Document
         2:08-cv-01327-GHK-SS       67 Filed
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                                             Filed 01/16/2009     Page1 ID
                                                                        of 7#:432
CaseCase
     2:08-cv-01327-GHK-SS  Document
         2:08-cv-01327-GHK-SS       67 Filed
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                                             Filed 01/16/2009     Page2 ID
                                                                        of 7#:433
CaseCase
     2:08-cv-01327-GHK-SS  Document
         2:08-cv-01327-GHK-SS       67 Filed
                               Document 65 01/20/09  Page 3 of 7 Page
                                             Filed 01/16/2009     Page3 ID
                                                                        of 7#:434
CaseCase
     2:08-cv-01327-GHK-SS  Document
         2:08-cv-01327-GHK-SS       67 Filed
                               Document 65 01/20/09  Page 4 of 7 Page
                                             Filed 01/16/2009     Page4 ID
                                                                        of 7#:435
CaseCase
     2:08-cv-01327-GHK-SS  Document
         2:08-cv-01327-GHK-SS       67 Filed
                               Document 65 01/20/09  Page 5 of 7 Page
                                             Filed 01/16/2009     Page5 ID
                                                                        of 7#:436
CaseCase
     2:08-cv-01327-GHK-SS  Document
         2:08-cv-01327-GHK-SS       67 Filed
                               Document 65 01/20/09  Page 6 of 7 Page
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                                                                        of 7#:437
CaseCase
     2:08-cv-01327-GHK-SS  Document
         2:08-cv-01327-GHK-SS       67 Filed
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